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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND



STATE OF ILLINOIS, et al.,
                                       Plaintiffs,

               v.                                    No. 1:25-cv-206-WES-PAS


FEDERAL EMERGENCY MANAGEMENT
AGENCY, et al.,

                                     Defendants.



            JOINT STATUS REPORT AND PROPOSED BRIEFING SCHEDULE

       The parties in the above-captioned case submit this status report to update the Court on their

efforts to negotiate a case schedule that would avoid the need for the Court to rule on Plaintiffs’

pending motion for a preliminary injunction and would instead resolve the parties’ disputes on

motions for summary judgment.

       1.      The parties have conferred and propose to proceed with cross-motions for summary

judgment on a schedule that would allow for the efficient and expeditious resolution of this case,

thereby avoiding the need for immediate preliminary relief and enabling the Court to address all of

the issues in this case at once, rather than in a piecemeal fashion.

       2.      The parties have not resolved Plaintiffs’ claims regarding the Recreational Boating

Safety (RBS) Grant Program. However, Plaintiffs’ position is that they are prepared to forego their

request for preliminary relief, provided that (a) summary judgment motions can be briefed

expeditiously and, if possible in light of the Court’s schedule, ruled upon by September 30, 2025, so

as to avoid what Plaintiffs allege to be the most significant adverse effects of the loss of RBS funding,




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and (b) Plaintiffs reserve their right to seek preliminary relief if they are required to agree to any of

the Civil Immigration Conditions in order to secure any other federal funding before September 2025.

       3.      To that end, the parties propose the following briefing schedule for cross-motions for

summary judgment:

       •    July 2, 2025: Plaintiffs will file an amended complaint, if any, and motion for summary
            judgment.

       •    July 23, 2025: Defendants will file their opposition to Plaintiffs’ motion for summary
            judgment and cross-motion for summary judgment.

       •    August 1, 2025: Plaintiffs will file a combined reply in support of their motion for
            summary judgment and opposition to Defendants’ cross-motion for summary judgment.

       •    August 11, 2025: Defendants will file their reply in support of their motion for summary
            judgment.

       4.      The parties propose this schedule subject to Plaintiffs’ reserving the right to renew

their request for a preliminary injunction, or otherwise seek more immediate relief, if Plaintiffs are

required to agree to the Civil Immigration Conditions in order to obtain federal funding for any DHS-

administered grant program before the end of September 2025. Defendants reserve their right to assert

all applicable defenses should Plaintiffs renew their request for preliminary or immediate relief.

       5.      Because no discovery is expected in the case, the disputed issues are largely legal in

nature, and all relevant factual issues will be fully addressed in the parties’ summary judgment briefs

and exhibits attached thereto, the parties further request that the Court waive the requirement that the

parties submit Statements of Undisputed Facts and responses thereto pursuant to Local Civ. R. 56(a).

       6.      Defendants also request, with Plaintiffs’ consent, that the Court waive the requirement

that Defendants file an answer to the complaint or any amended complaint, given that the parties will

be proceeding straight to summary judgment briefing.




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June 20, 2025                                Respectfully submitted,

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